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     FILED
    May 26, 2023
  KAREN MITCHELL
CLERK, U.S. DISTRICT
                        United States Court of Appeals
      COURT                  for the Fifth Circuit
                                            ___________

                                             No. 23-10319
                                            ___________

               William T. Mock; Christopher Lewis; Firearms Policy
               Coalition, Incorporated, a nonprofit corporation; Maxim
               Defense Industries, L.L.C.,

                                                                   Plaintiffs—Appellants,

                                                 versus

               Merrick Garland, U.S. Attorney General, in his official capacity as
               Attorney General of the United States; United States Department
               of Justice; Bureau of Alcohol, Tobacco, Firearms, and
               Explosives; Steven Dettelbach, in his official capacity as the
               Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives,

                                                        Defendants—Appellees.
                               ______________________________

                              Appeal from the United States District Court
                                  for the Northern District of Texas
                                        USDC No. 4:23-CV-95
                              ______________________________

               ORDER:
                       IT IS ORDERED that appellants’ opposed motion for clarification
               of the motion panel’s May 23, 2023, order is GRANTED.
                       The motions panel majority ordered that “Appellants’ Opposed
               Motion For a Preliminary Injunction Pending Appeal is GRANTED as to
               the Plaintiffs in this case.” (Emphasis added.) On May 23, the appellants
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   moved for clarification of the meaning and scope of the italicized language.
   As the merits panel that will be hearing oral arguments on June 29, 2023, we
   provide that clarification now.
           This clarification is granted essentially for the reasons concisely set
   forth in the May 25, 2023, Plaintiffs-Appellants’ Reply to Their Opposed
   Motion for Clarification of Injunction Pending Appeal. There, the appellants
   acknowledge that “[a]lthough a nationwide injunction would have func-
   tionally addressed the question of scope, on which Plaintiffs now seek clarity,
   Plaintiffs understand that one was not given . . . . Instead, Plaintiffs merely
   request clarification on whether their reading of the term ‘Plaintiffs’ to
   include the customers and members whose interests Plaintiffs Maxim
   Defense and Firearms Policy Coalition (‘FPC’) have represented since day
   one of this litigation is correct.”
           That reading is correct. Also as requested, the term “Plaintiffs in this
   case” includes the individual plaintiffs’ resident family members.
               Any relief beyond what is explicitly requested, which arguably would
   be tantamount to a nationwide injunction, is DENIED.
           Nothing in this order is to be construed as a comment on the merits of
   any issue that this panel may ultimately address. The limited purpose of this
   clarification is to preserve the status quo ante to provide what the agency
   defendants term “complete relief” to the parties and persons within the rea-
   sonable scope of the motion panel’s injunction pending appeal. Califano v.
   Yamasaki, 442 U.S. 682, 702 (1979).*


           *
              One member of the merits panel would not clarify the motion panel’s order to
   extend the injunction to “customers.” The motion panel’s injunction was limited “to the
   Plaintiffs in this case.” There is no authority in the motion panel’s order to extend the
   injunction to an infinite number of non-parties to this case on the theory that, for full relief
   to be afforded to the plaintiffs, the plaintiffs must be permitted to sell products to an




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                               Lyle W. Cayce, Clerk
                             United States Court of Appeals
                                  for the Fifth Circuit
                                   /s/ Lyle W. Cayce

           ENTERED AT THE DIRECTION OF THE COURT




   undefined set of downstream purchasers. Full adversary briefing will assist us to confirm
   our court’s equitable powers under the Constitution.




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